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12
                       IN THE UNITED STATES DISTRICT COURT
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                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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                                              CASE NO: '18CV2040 GPC KSC
15 RESMED INC., a Delaware Corporation,
16 RESMED CORP, a Minnesota Corporation, COMPLAINT FOR PATENT
   and RESMED LTD, an Australian
17 Corporation,                           INFRINGEMENT
18                                        JURY TRIAL DEMANDED
                Plaintiff,
19        v.
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   FISHER & PAYKEL HEALTHCARE
21 LIMITED, a New Zealand Corporation,
22 FISHER & PAYKEL HEALTHCARE INC.,
   a California Corporation, and FISHER &
23 PAYKEL HEALTHCARE DISTRIBUTION
24 INC., a California Corporation,
25                Defendants.
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1          Plaintiffs ResMed Inc., ResMed Corp, and ResMed Ltd (individually and
2    collectively, “ResMed”) hereby complain of Defendants Fisher & Paykel Healthcare
3    Limited, Fisher & Paykel Healthcare Inc., and Fisher & Paykel Healthcare
4    Distribution Inc. (individually and collectively, “F&P”) and allege as follows:
5                                    I.   THE PARTIES
6          1.      Plaintiff ResMed Inc. is a corporation organized under the laws of the
7    state of Delaware with its principal place of business in this district in San Diego,
8    California.
9          2.      Plaintiff ResMed Corp is a corporation organized under the laws of the
10   state of Minnesota with its principal place of business in this district in San Diego,
11   California.
12         3.      Plaintiff ResMed Ltd is a corporation organized under the laws of
13   Australia, having its principal place of business in Bella Vista, New South Wales,
14   Australia.
15         4.      ResMed Corp and ResMed Ltd are, respectively, direct and indirect
16   subsidiaries of ResMed Inc.
17         5.      On information and belief, Defendant Fisher & Paykel Healthcare
18   Limited (“F&P Healthcare Ltd”) is a New Zealand corporation having a principal
19   place of business at 15 Maurice Paykel Place, East Tamaki, Auckland 2013, New
20   Zealand, PO Box 14348, Panmure, Auckland, New Zealand.
21         6.      On information and belief, F&P Healthcare Ltd is a subsidiary of
22   Fisher & Paykel Healthcare Corp. Ltd (“F&P Healthcare Corp. Ltd”). Both entities
23   are New Zealand corporations having their principal place of business at 15 Maurice
24   Paykel Place, East Tamaki, Auckland 2013, New Zealand, PO Box 14348, Panmure,
25   Auckland, New Zealand. F&P Healthcare Corp. Ltd is the parent company of the
26   defendant Fisher & Paykel Healthcare entities.
27         7.      On information and belief, Defendant Fisher & Paykel Healthcare Inc.
28   (“F&P Healthcare Inc.”) is a corporation organized and existing under the laws of

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1    the state of California having a principal place of business at 173 Technology
2    Drive, Suite 100, Irvine, CA 92618.
3              8.    On information and belief, F&P Healthcare Inc. is a U.S. sales entity.
4              9.    On information and belief, F&P Healthcare Inc. is owned by Fisher &
5    Paykel Holdings Inc., which is owned by F&P Healthcare Corp. Ltd.
6              10.   On information and belief, Fisher & Paykel Healthcare Distribution
7    Inc. (“F&P Healthcare Dist.”) is a corporation organized and existing under the laws
8    of the state of California having a principal place of business at 173 Technology
9    Drive, Suite 100, Irvine, CA 92618.
10             11.   On information and belief, F&P Healthcare Dist. is a U.S. distribution
11   entity.
12             12.   On information and belief, F&P Healthcare Dist. is owned by Fisher &
13   Paykel Holdings Inc., which is owned by F&P Healthcare Corp. Ltd.
14                           II.   JURISDICTION AND VENUE
15             13.   This is a civil action for patent infringement arising under the patent
16   laws of the United States, 35 U.S.C. §§ 100, et seq., including, 35 U.S.C. §§ 271 and
17   281.
18             14.   This Court has subject matter jurisdiction over RedMed’s claims under
19   28 U.S.C. §§ 1331 and 1338(a), and the Declaratory Judgment Act, 28 U.S.C.
20   §§ 2201 and 2202.
21             15.   Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b), (c)
22   and 1400(b) because, among other reasons, F&P previously sued ResMed Corp. in
23   this judicial district in Case No. 3:16-cv-02068-DMS-WVG, currently pending and
24   stayed pending resolution of inter partes review proceedings regarding the asserted
25   patents in the United States Patent & Trademark Office.
26             16.   F&P is subject to personal jurisdiction in California and in this judicial
27   district because F&P has committed the acts of infringement complained of by
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1    ResMed in this judicial district and because F&P Healthcare Inc. and F&P
2    Healthcare Dist. are residents of California.
3                 III.   RESMED’S CLAIMS OF INFRINGEMENT
4                                RESMED PATENTS IN SUIT
5          17.    ResMed Ltd is the owner by assignment of all right, title, and interest
6    in and to United States Patent No. 9,757,533 patent entitled “Mask System with
7    Snap-Fit Shroud,” (hereinafter “the ’533 patent”), which was duly and legally issued
8    on September 12, 2017.
9          18.    The ’533 patent is valid, enforceable, and currently in full force and
10   effect. A copy of the ’533 patent is attached as Exhibit A.
11         19.    ResMed Inc. is the exclusive licensee of the ’533 patent and has
12   exclusively sublicensed the patent to ResMed Corp, the U.S. sales subsidiary.
13         20.    ResMed Ltd is the owner by assignment of all right, title, and interest
14   in and to United States Patent No. 9,937,315 entitled “Mask with Removable
15   Headgear Connector,” (hereinafter “the ’315 patent”), which was duly and legally
16   issued on April 10, 2018.
17         21.    The ’315 patent is valid, enforceable, and currently in full force and
18   effect. A copy of the ’315 patent is attached as Exhibit B.
19         22.    ResMed Inc. is the exclusive licensee of the ’315 patent and has
20   exclusively sublicensed the patent to ResMed Corp, the U.S. sales subsidiary.
21         23.    ResMed Ltd is the owner by assignment of all right, title, and interest
22   in and to United States Patent No. 9,950,131 entitled “Mask System with Snap-Fit
23   Shroud,” (hereinafter “the ’131 patent”), which was duly and legally issued on
24   April 24, 2018
25         24.    The ’131 patent is valid, enforceable, and currently in full force and
26   effect. A copy of the ’131 patent is attached as Exhibit C.
27         25.    ResMed Inc. is the exclusive licensee of the ’131 patent and has
28   exclusively sublicensed the patent to ResMed Corp, the U.S. sales subsidiary.

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1          26.    ResMed Ltd is the owner by assignment of all right, title, and interest
2    in and to United States Patent No. 9,962,510 entitled “Respiratory Mask Assembly,”
3    (hereinafter “the ’510 patent”), which was duly and legally issued on May 8, 2018.
4          27.    The ’510 patent is valid, enforceable, and currently in full force and
5    effect. A copy of the ’510 patent is attached as Exhibit D.
6          28.    ResMed Inc. is the exclusive licensee of the ’510 patent and has
7    exclusively sublicensed the patent to ResMed Corp, the U.S. sales subsidiary.
8          29.    ResMed Ltd is the owner by assignment of all right, title, and interest
9    in and to United States Patent No. 9,962,511 entitled “Mask System with Snap-Fit
10   Shroud,” (hereinafter “the ’511 patent”), which was duly and legally issued on May
11   8, 2018.
12         30.    The ’511 patent is valid, enforceable, and currently in full force and
13   effect. A copy of the ’511 patent is attached as Exhibit E.
14         31.    ResMed Inc. is the exclusive licensee of the ’511 patent and has
15   exclusively sublicensed the patent to ResMed Corp, the U.S. sales subsidiary.
16                                         RESMED
17         32.    ResMed is a leading developer, manufacturer, and distributor of
18   medical equipment for treating, diagnosing, and managing sleep-disordered
19   breathing and other respiratory disorders.
20         33.    The company is dedicated to developing innovative products to
21   improve the lives of those who suffer from these conditions and to increasing
22   awareness among patients and healthcare professionals of the potentially serious
23   health consequences of untreated sleep-disordered breathing (sometimes referred to
24   as “SDB”).
25         34.    Since it was founded in 1989, ResMed has focused on developing and
26   commercializing systems for the treatment of obstructive sleep apnea (“OSA”), a
27   major subset of SDB.
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1          35.    ResMed’s development of innovative therapies for the treatment of
2    OSA has resulted in over 4,000 patents granted or pending worldwide, and its
3    product line incorporates technology that is a highly effective and proven way to
4    treat OSA.
5          36.    ResMed has invested hundreds of millions of dollars in research and
6    development relating to products to treat sleep-disordered breathing.
7          37.    It has been estimated that SDB in general, and OSA in particular,
8    affects approximately 20% of the adult population, making it as widespread as
9    diabetes or asthma.
10         38.    However, awareness of OSA is relatively low; one study in 2002
11   concluded that about 90% of people with OSA remain undiagnosed and untreated.
12         39.    Therefore, ResMed also has made substantial investments directed to
13   increasing education and awareness of the health consequences of untreated SDB
14   among both the general public and physicians.
15         40.    ResMed’s portfolio of SDB products includes flow generators,
16   humidifiers, diagnostic products, mask systems, headgear, and other accessories,
17   including, for example, certain sleep-disordered breathing treatment masks.
18         41.    ResMed marks its patents on some products and marks all of its
19   products on its website at: www.resmed.com/ip.
20                F&P’S INFRINGING ACTIVITIES AND PRODUCTS
21         42.    On information and belief, F&P, on its own and/or through its
22   subsidiaries, is in the business of manufacturing, packaging, importing, selling,
23   offering to sell, and/or distributing a variety of sleep-disordered breathing treatment
24   systems and components thereof, including, but not limited to, F&P’s Eson product
25   line, F&P’s Eson 2 product line, and F&P’s Simplus product line (collectively,
26   “Accused Products”). The Accused Products are one component of a continuous
27   positive airway pressure (“CPAP”) therapy system.
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1           43.    F&P has placed the Accused Eson, Eson 2, and Simplus Products into
2    the stream of commerce by shipping those products into this judicial district and/or
3    by knowing that such products would be shipped into this judicial district.
4           44.    F&P is a manufacturer and distributor of durable medical equipment,
5    including systems and components thereof for the treatment of sleep-disordered
6    breathing, such as obstructive sleep apnea.
7           45.    F&P’s distribution network distributes sleep-disordered breathing
8    treatment systems and products directly to customers located throughout the United
9    States, including in this judicial district.
10          46.    F&P develops, manufactures, and markets sleep-disordered breathing
11   treatment systems and components thereof that infringe one or more claims of the
12   Patents-in-Suit, as defined below.
13          47.    F&P’s accused sleep-disordered breathing treatment systems and
14   components thereof are manufactured, assembled, packaged, and/or tested outside of
15   the United States. F&P then imports the accused sleep-disordered breathing
16   treatment systems and components thereof into the United States, sells them for
17   importation, or sells them in the United States after importation.
18          48.    By importing into the United States, shipping into, selling, offering to
19   sell, and/or using products that infringe the Patents-in-Suit in this judicial district, or
20   by inducing or causing those acts to occur, F&P has transacted and continues to
21   transact business and perform work and services in this judicial district, has supplied
22   and continues to supply services and things in this judicial district, has caused and
23   continues to cause injury and damages in this judicial district by acts and omissions
24   in this judicial district, and has caused and continues to cause injury and damages in
25   this judicial district by acts or omissions outside of this judicial district while
26   deriving substantial revenue from services or things used or consumed within this
27   judicial district, and will continue to do so unless enjoined by this Court.
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1          49.       On information and belief, F&P offers for sale, sells, licenses, and/or
2    distributes the Accused Products in the United States, including within this district,
3    and/or imports the Accused Products into the United States.
4          50.       F&P markets the structure, operation, and use of the Simplus System to
5    the public. By way of example, F&P provides instruction to the public on the
6    structure, function, use, and purchasing of the Simplus System on its website,
7    including at least marketing materials, sales materials, purchasing information,
8    videos, catalogues, specification sheets, user instructions, and guides. Further, by
9    way of example, F&P provides instruction to the public on the structure, function,
10   and use of the Simplus System in the product packaging; including at least user
11   instructions.
12         51.       By way of example, on its website, F&P markets the use of the Simplus
13   System for Sleep Apnea:
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21         52.       By way of example, on its website, F&P markets that the Simplus
22   System includes three components, the RollFit Seal, the ErgoForm Headgear, and
23   Easy Frame:
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9          53.   By way of example, on its website, F&P markets the structure of the

10   Simplus System including the RollFit Seal, the ErgoForm Headgear, and Easy

11   Frame.

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           54.   By way of example, on its website, F&P markets that the Simplus
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     System includes a RollFit Seal:
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1         55.   By way of example, on its website, F&P markets that the Simplus
2    System includes a ErgoForm Headgear:
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9         56.   By way of example, on its website, F&P markets that the Simplus
10   System includes an Easy Frame:
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18        57.   By way of example, on its website, F&P markets the Mask Parts of the
19   Simplus System:
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10        58.   By way of example, on its website, F&P markets Fitting Your Mask for
11   the Simplus System:
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1          59.    By way of example, on its website, F&P markets Mask
2    Assembly/Disassembly for the Simplus System:
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17         60.    F&P markets the structure, operation, and use of the Eson System to
18   the public. By way of example, F&P provides instruction to the public on the
19   structure, function, use, and purchasing of the Eson System on its website, including
20   at least marketing materials, sales materials, purchasing information, videos,
21   catalogues, specification sheets, user instructions, and guides. Further, by way of
22   example, F&P provides instruction to the public on the structure, function, and use
23   of the Eson System in the product packaging; including at least user instructions.
24         61.    By way of example, on its website, F&P markets the use of the Eson
25   System as a Nasal Mask for Sleep Apnea:
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           62.    By way of example, on its website, F&P markets that the Eson System
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     includes three components, the RollFit Seal, the ErgoFit Headgear, and Easy Frame:
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22         63.    By way of example, on its website, F&P markets that the Eson System
23   includes a RollFit Seal:
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7          64.   By way of example, on its website, F&P markets that the Eson System
8    includes a ErgoFit Headgear:
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17         65.   By way of example, on its website, F&P markets that the Eson System
18   includes an Easy Frame:
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26         66.   By way of example, on its website, F&P markets the Mask Parts of the
27   Eson System:
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12        67.   By way of example, on its website, F&P markets Fitting Your Mask for
13   the Eson System:
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23        68.   By way of example, on its website, F&P markets Mask
24   Assembly/Disassembly for the Eson System:
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15         69.    F&P has imported the Eson 2 System as a Nasal Mask for Sleep Apnea.
16   F&P markets the structure, operation, and use of the Eson 2 System to the public.
17   By way of example, F&P provides instruction to the public on the structure,
18   function, use, and purchasing of the Eson 2 System on its website, including at least
19   marketing materials, sales materials, purchasing information, videos, catalogues,
20   specification sheets, user instructions, and guides. Further, by way of example, F&P
21   provides instruction to the public on the structure, function, and use of the Eson 2
22   System in the product packaging; including at least user instructions.
23         70.    By way of example, on its website, and in its promotional materials,
24   including the materials accompanying the imported Eson 2 System, F&P markets
25   that the Eson 2 System includes “Key features and benefits” including, the Intuitive
26   Headgear, the RollFit Seal, and the Easy Frame:
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10         71.   By way of example, in the materials accompanying the imported Eson
11   2 System, F&P markets the Mask Parts of the Eson 2 System:
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20         72.   By way of example, in the materials accompanying the imported Eson
21   2 System, F&P markets Fitting Your Mask for the Eson 2 System:
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9          73.    By way of example, in the materials accompanying the imported Eson
10   2 System, F&P markets Mask Assembly/Disassembly for the Eson 2 System:
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18         74.    On information and belief, because F&P was aware of ResMed’s
19   products, F&P was also aware of ResMed patents as a result of patent marking,
20   including the marking on ResMed’s website.
21         75.    On information and belief, F&P’s acts of infringement of the patents
22   identified below have occurred with knowledge of ResMed’s rights in its patents or
23   with willful blindness thereto.
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1                               FIRST CLAIM FOR RELIEF
2                 F&P’S INFRINGEMENT OF U.S. PATENT NO. 9,757,533
3          76.     The allegations of Paragraphs 1-75 are incorporated herein by
4    reference.
5          77.     F&P has directly infringed the claims of the ’533 patent, literally and/or
6    under the doctrine of equivalents, by making, using, offering to sell, and/or selling
7    within the United States, and/or importing into the United States, the Accused
8    Products, including but not limited to F&P’s Simplus System product line and Eson
9    and Eson 2 System product lines.
10         78.     By way of example, the Accused Products, including at least the
11   Simplus Mask System, specifically infringe at least claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
12   13, 15, and 16 of the ’533 patent. By way of example, the Accused Products,
13   including at least the Eson and Eson 2 Mask Systems, specifically infringe at least
14   claims 55, 59, and 60 of the ’533 patent.
15         79.     Attached hereto as Exhibit F is a non-limiting example demonstrating
16   how the Accused Simplus Mask System meets each and every limitation of at least
17   claim 1 of the ’533 Patent.
18         80.     Attached hereto as Exhibit G is a non-limiting example demonstrating
19   how the Accused Eson Mask System meets each and every limitation of at least
20   claim 55 of the ’533 Patent.
21         81.     Attached hereto as Exhibit H is a non-limiting example demonstrating
22   how the Accused Eson 2 Mask System meets each and every limitation of at least
23   claim 55 of the ’533 Patent.
24         82.     ResMed is well-known in the industry for making and selling SDB
25   products and ResMed is well-known in the industry to be an innovator.
26         83.     ResMed also gives notice to the public that its products are patented by
27   appropriately marking those products with its applicable patent numbers as
28   permitted by 35 U.S.C. § 287(a).

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1          84.    Therefore, on information and belief, F&P either must have known
2    about the ’533 patent or must have been willfully blind to it at the time it engaged in
3    its infringing activities and, in any event, was aware of the ’533 patent at least as
4    early as the service date of this complaint.
5          85.    F&P also actively induces infringement of the ’533 patent in violation
6    of 35 U.S.C. § 271(b). F&P encourages and intends the use, importation, and sale
7    of the Accused Products within the United States. For example, at least on its
8    website, F&P advertises the Accused Products for use within the United States and
9    instructs patients and health care providers on the use of the Accused Products.
10         86.    F&P also contributes to the infringement of the ’533 patent in violation
11   of 35 U.S.C. § 271(c). F&P sells within the United States, and/or imports into the
12   United States, components of the Accused Products that are material parts of the
13   invention of the asserted claims of the ’533 patent, are not staple articles or
14   commodities of commerce suitable for substantial non-infringing use, and are
15   known by F&P to be especially made or especially adapted for use in an
16   infringement of the ’533 patent.
17         87.    On information and belief, F&P lacks reasonable defenses for its
18   infringing activities and therefore knows the use, importation, and sale of the
19   Accused Products within the United States infringes the ’533 patent.
20         88.    On information and belief, F&P’s infringement of the ’533 patent has
21   been, and continues to be, willful and deliberate by continuing its acts of
22   infringement after becoming aware of the ’533 patent and its infringement of that
23   patent. F&P’s conduct has been in reckless disregard of ResMed’s patent rights.
24         89.    As a result of F&P’s infringement of the ’533 patent, ResMed has
25   suffered and will continue to suffer damage.
26         90.    ResMed is entitled to recover from F&P the damages adequate to
27   compensate for such infringement, which have yet to be determined.
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                                                19   CASE NO.
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1          91.     F&P’s acts of infringement have caused and will continue to cause
2    irreparable harm to ResMed for which there is no adequate remedy at law unless and
3    until enjoined by this Court.
4                             SECOND CLAIM FOR RELIEF
5                 F&P’S INFRINGEMENT OF U.S. PATENT NO. 9,937,315
6          92.     The allegations of Paragraphs 1-91 are incorporated herein by
7    reference.
8          93.     F&P has directly infringed the claims of the ’315 patent, literally and/or
9    under the doctrine of equivalents, by making, using, offering to sell, and/or selling
10   within the United States, and/or importing into the United States, the Accused
11   Products, including but not limited to F&P’s Simplus System product line and Eson
12   and Eson 2 System product lines.
13         94.     By way of example, the Accused Products, including at least the
14   Simplus System, specifically infringe at least claims 1, 5, 7, 8, 9, 30, 31, 32, 33, and
15   35 of the ’315 patent. By way of example, the Accused Products, including at least
16   the Eson and Eson 2 Systems, specifically infringe at least claims 1, 2, 4, 9, 30, and
17   31 of the ’315 patent.
18         95.     Attached hereto as Exhibit I is a non-limiting example demonstrating
19   how the Accused Simplus Mask System meets each and every limitation of at least
20   claim 1 of the ’315 patent.
21         96.     Attached hereto as Exhibit J is a non-limiting example demonstrating
22   how the Accused Eson Mask System meets each and every limitation of at least
23   claim 1 of the ’315 patent.
24         97.     Attached hereto as Exhibit K is a non-limiting example demonstrating
25   how the Accused Eson 2 Mask System meets each and every limitation of at least
26   claim 1 of the ’315 patent.
27         98.     ResMed is well-known in the industry for making and selling SDB
28   products and ResMed is well-known in the industry to be an innovator.

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1          99.    ResMed also gives notice to the public that its products are patented by
2    appropriately marking those products with its applicable patent numbers as
3    permitted by 35 U.S.C. § 287(a).
4          100. Therefore, on information and belief, F&P either must have known
5    about the ’315 patent or was willfully blind to the ’315 patent at the time it engaged
6    in its infringing activities and, in any event, was aware of the ’315 patent at least as
7    early as the date it was served with this complaint.
8          101. F&P also actively induces infringement of the ’315 patent in violation
9    of 35 U.S.C. § 271(b). F&P encourages and intends the use, importation, and sale
10   of the Accused Products within the United States. For example, at least on its
11   website, F&P advertises the Accused Products for use within the United States and
12   instructs patients and health care providers on the use of the Accused Products.
13         102. F&P also contributes to the infringement of the ’315 patent in violation
14   of 35 U.S.C. § 271(c). F&P sells within the United States, and/or imports into the
15   United States, components of the Accused Products that are material parts of the
16   invention of the asserted claims of the ’315 patent, are not staple articles or
17   commodities of commerce suitable for substantial non-infringing use, and are
18   known by F&P to be especially made or especially adapted for use in an
19   infringement of the ’315 patent.
20         103. On information and belief, F&P lacks reasonable defenses for its
21   infringing activities and therefore knows the use, importation, and sale of the
22   Accused Products within the United States infringes the ’315 patent.
23         104. On information and belief, F&P’s infringement of the ’315 patent has
24   been, and continues to be, willful and deliberate by continuing its acts of
25   infringement after becoming aware of the ’315 patent and its infringement of that
26   patent. F&P’s conduct has been in reckless disregard of ResMed’s patent rights.
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1          105. As a result of F&P’s infringement of the ’315 patent, ResMed has
2    suffered and will continue to suffer financial injury and irreparable injury to its
3    business and reputation.
4          106. ResMed is entitled to recover from F&P the damages adequate to
5    compensate for F&P’s infringement, which have yet to be determined.
6          107. F&P’s acts of infringement have caused and will continue to cause
7    irreparable harm to ResMed for which there is no adequate remedy at law unless and
8    until enjoined by this Court.
9                               THIRD CLAIM FOR RELIEF
10                F&P’S INFRINGEMENT OF U.S. PATENT NO. 9,950,131
11         108. The allegations of Paragraphs 1-107 are incorporated herein by
12   reference.
13         109. F&P has directly infringed the claims of the ’131 patent, literally and/or
14   under the doctrine of equivalents, by making, using, offering to sell, and/or selling
15   within the United States, and/or importing into the United States, the Accused
16   Products, including but not limited to F&P’s Simplus System product line and Eson
17   and Eson 2 System product lines.
18         110. By way of example, the Accused Products, including at least the
19   Simplus Mask System, specifically infringe at least claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 11,
20   12, 13, 14, 15, 16, 17, 18, 24, 25, 26, 27, and 28 of the ’131 patent. By way of
21   example, the Accused Products, including at least the Eson and Eson 2 Mask
22   Systems, specifically infringe at least claims 24, 25, 26, and 27 of the ’131 patent.
23         111. Attached hereto as Exhibit L is a non-limiting example demonstrating
24   how the Accused Simplus Mask System meets each and every limitation of at least
25   claim 1 of the ’131 Patent.
26         112. Attached hereto as Exhibit M is a non-limiting example demonstrating
27   how the Accused Eson Mask System meets each and every limitation of at least
28   claim 24 of the ’131 Patent.

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1          113. Attached hereto as Exhibit N is a non-limiting example demonstrating
2    how the Accused Eson 2 Mask System meets each and every limitation of at least
3    claim 24 of the ’131 Patent.
4          114. ResMed is well-known in the industry for making and selling SDB
5    products and ResMed is well-known in the industry to be an innovator.
6          115. ResMed also gives notice to the public that its products are patented by
7    appropriately marking those products with its applicable patent numbers as
8    permitted by 35 U.S.C. § 287(a).
9          116. Therefore, on information and belief, F&P either must have known
10   about the ’131 patent or must have been willfully blind to it at the time it engaged in
11   its infringing activities and, in any event, was aware of the ’131 patent at least as
12   early as the service date of this complaint.
13         117. F&P also actively induces infringement of the ’131 patent in violation
14   of 35 U.S.C. § 271(b). F&P encourages and intends the use, importation, and sale
15   of the Accused Products within the United States. For example, at least on its
16   website, F&P advertises the Accused Products for use within the United States and
17   instructs patients and health care providers on the use of the Accused Products.
18         118. F&P also contributes to the infringement of the ’131 patent in violation
19   of 35 U.S.C. § 271(c). F&P sells within the United States, and/or imports into the
20   United States, components of the Accused Products that are material parts of the
21   invention of the asserted claims of the ’131 patent, are not staple articles or
22   commodities of commerce suitable for substantial non-infringing use, and are
23   known by F&P to be especially made or especially adapted for use in an
24   infringement of the ’131 patent.
25         119. On information and belief, F&P lacks reasonable defenses for its
26   infringing activities and therefore knows the use, importation, and sale of the
27   Accused Products within the United States infringes the ’131 patent.
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1          120. On information and belief, F&P’s infringement of the ’131 patent has
2    been, and continues to be, willful and deliberate by continuing its acts of
3    infringement after becoming aware of the ’131 patent and its infringement of that
4    patent. F&P’s conduct has been in reckless disregard of ResMed’s patent rights.
5          121. As a result of F&P’s infringement of the ’131 patent, ResMed has
6    suffered and will continue to suffer damage.
7          122. ResMed is entitled to recover from F&P the damages adequate to
8    compensate for such infringement, which have yet to be determined.
9          123. F&P’s acts of infringement have caused and will continue to cause
10   irreparable harm to ResMed for which there is no adequate remedy at law unless and
11   until enjoined by this Court.
12                            FOURTH CLAIM FOR RELIEF
13                F&P’S INFRINGEMENT OF U.S. PATENT NO. 9,962,510
14         124. The allegations of Paragraphs 1-123 are incorporated herein by
15   reference.
16         125. F&P has directly infringed the claims of the ’510 patent, literally and/or
17   under the doctrine of equivalents, by making, using, offering to sell, and/or selling
18   within the United States, and/or importing into the United States, the Accused
19   Products, including but not limited to F&P’s Simplus System product line.
20         126. By way of example, the Accused Products, including at least the
21   Simplus Mask System, specifically infringe at least claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
22   11, 13, 14, 15, 16, 25, 26, 27, 28, 29, 30, 31, and 32 of the ’510 patent.
23         127. Attached hereto as Exhibit O is a non-limiting example demonstrating
24   how the Accused Simplus Mask System meets each and every limitation of at least
25   claim 1 of the ’510 Patent.
26         128. ResMed is well-known in the industry for making and selling SDB
27   products and ResMed is well-known in the industry to be an innovator.
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1          129. ResMed also gives notice to the public that its products are patented by
2    appropriately marking those products with its applicable patent numbers as
3    permitted by 35 U.S.C. § 287(a).
4          130. Therefore, on information and belief, F&P either must have known
5    about the ’510 patent or must have been willfully blind to it at the time it engaged in
6    its infringing activities and, in any event, was aware of the ’510 patent at least as
7    early as the service date of this complaint.
8          131. F&P also actively induces infringement of the ’510 patent in violation
9    of 35 U.S.C. § 271(b). F&P encourages and intends the use, importation, and sale
10   of the Accused Products within the United States. For example, at least on its
11   website, F&P advertises the Accused Products for use within the United States and
12   instructs patients and health care providers on the use of the Accused Products.
13         132. F&P also contributes to the infringement of the ’510 patent in violation
14   of 35 U.S.C. § 271(c). F&P sells within the United States, and/or imports into the
15   United States, components of the Accused Products that are material parts of the
16   invention of the asserted claims of the ’510 patent, are not staple articles or
17   commodities of commerce suitable for substantial non-infringing use, and are
18   known by F&P to be especially made or especially adapted for use in an
19   infringement of the ’510 patent.
20         133. On information and belief, F&P lacks reasonable defenses for its
21   infringing activities and therefore knows the use, importation, and sale of the
22   Accused Products within the United States infringes the ’510 patent.
23         134. On information and belief, F&P’s infringement of the ’510 patent has
24   been, and continues to be, willful and deliberate by continuing its acts of
25   infringement after becoming aware of the ’510 patent and its infringement of that
26   patent. F&P’s conduct has been in reckless disregard of ResMed’s patent rights.
27         135. As a result of F&P’s infringement of the ’510 patent, ResMed has
28   suffered and will continue to suffer damage.

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1          136. ResMed is entitled to recover from F&P the damages adequate to
2    compensate for such infringement, which have yet to be determined.
3          137. F&P’s acts of infringement have caused and will continue to cause
4    irreparable harm to ResMed for which there is no adequate remedy at law unless and
5    until enjoined by this Court.
6                                 FIFTH CLAIM FOR RELIEF
7                 F&P’S INFRINGEMENT OF U.S. PATENT NO. 9,962,511
8          138. The allegations of Paragraphs 1-137 are incorporated herein by
9    reference.
10         139. F&P has directly infringed the claims of the ’511 patent, literally and/or
11   under the doctrine of equivalents, by making, using, offering to sell, and/or selling
12   within the United States, and/or importing into the United States, the Accused
13   Products, including but not limited to F&P’s Simplus System product line and Eson
14   and Eson 2 System product lines.
15         140. By way of example, the Accused Products, including at least the
16   Simplus Mask System, specifically infringe at least claims 1, 2, 6, 14, 15, and 22 of
17   the ’511 patent. By way of example, the Accused Products, including at least the
18   Eson and Eson 2 Mask Systems, specifically infringe at least claims 1, 2, 8, 9, 24,
19   and 25 of the ’511 patent.
20         141. Attached hereto as Exhibit P is a non-limiting example demonstrating
21   how the Accused Simplus Mask System meets each and every limitation of at least
22   claim 1 of the ’511 Patent.
23         142. Attached hereto as Exhibit Q is a non-limiting example demonstrating
24   how the Accused Eson Mask System meets each and every limitation of at least
25   claim 1 of the ’511 Patent.
26         143. Attached hereto as Exhibit R is a non-limiting example demonstrating
27   how the Accused Eson 2 Mask System meets each and every limitation of at least
28   claim 1 of the ’511 Patent.

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1          144. ResMed is well-known in the industry for making and selling SDB
2    products and ResMed is well-known in the industry to be an innovator.
3          145. ResMed also gives notice to the public that its products are patented by
4    appropriately marking those products with its applicable patent numbers as
5    permitted by 35 U.S.C. § 287(a).
6          146. Therefore, on information and belief, F&P either must have known
7    about the ’511 patent or must have been willfully blind to it at the time it engaged in
8    its infringing activities and, in any event, was aware of the ’511 patent at least as
9    early as the service date of this complaint.
10         147. F&P also actively induces infringement of the ’511 patent in violation
11   of 35 U.S.C. § 271(b). F&P encourages and intends the use, importation, and sale
12   of the Accused Products within the United States. For example, at least on its
13   website, F&P advertises the Accused Products for use within the United States and
14   instructs patients and health care providers on the use of the Accused Products.
15         148. F&P also contributes to the infringement of the ’511 patent in violation
16   of 35 U.S.C. § 271(c). F&P sells within the United States, and/or imports into the
17   United States, components of the Accused Products that are material parts of the
18   invention of the asserted claims of the ’511 patent, are not staple articles or
19   commodities of commerce suitable for substantial non-infringing use, and are
20   known by F&P to be especially made or especially adapted for use in an
21   infringement of the ’511 patent.
22         149. On information and belief, F&P lacks reasonable defenses for its
23   infringing activities and therefore knows the use, importation, and sale of the
24   Accused Products within the United States infringes the ’511 patent.
25         150. On information and belief, F&P’s infringement of the ’511 patent has
26   been, and continues to be, willful and deliberate by continuing its acts of
27   infringement after becoming aware of the ’511 patent and its infringement of that
28   patent. F&P’s conduct has been in reckless disregard of ResMed’s patent rights.

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1          151. As a result of F&P’s infringement of the ’511 patent, ResMed has
2    suffered and will continue to suffer damage.
3          152. ResMed is entitled to recover from F&P the damages adequate to
4    compensate for such infringement, which have yet to be determined.
5          153. F&P’s acts of infringement have caused and will continue to cause
6    irreparable harm to ResMed for which there is no adequate remedy at law unless and
7    until enjoined by this Court.
8                             IV.    PRAYER FOR RELIEF
9          WHEREFORE, ResMed prays that this Court enters judgment and provides
10   relief as follows:
11         (a)    That F&P is liable for infringement of the asserted ResMed Patents-in-
12   Suit under 35 U.S.C. § 271 through the manufacture, use, importation, offer for sale
13   and/or sale of infringing products and/or any of the other acts prohibited by 35
14   U.S.C. § 271;
15         (b)    That F&P and each of its officers, agents, employees, parents,
16   subsidiaries, representatives, successors and assigns and those in active concert or
17   participation with them directly or indirectly, be enjoined from further infringing in
18   any manner any of the Patents-in-Suit pursuant to 35 U.S.C. § 283;
19         (c)    That F&P pay to ResMed the damages resulting from F&P’s
20   infringement of the Patents-in-Suit, together with interest and costs, and all other
21   damages permitted by 35 U.S.C. § 284;
22         (d)    That F&P be ordered to account for additional damages for any and all
23   periods of infringement not included in the damages awarded by the Court or jury,
24   including specifically any time periods between any order or verdict awarding
25   damages and entry of final judgment;
26         (e)    That ResMed be awarded pre-judgment and post-judgment interest and
27   costs against F&P as permitted by 35 U.S.C. § 284;
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1           (f)    That F&P’s infringement of the asserted ResMed Patents-in-Suit has
2    been and continues to be willful justifying an enhanced award of damages under 35
3    U.S.C. § 284;
4           (g)    That this action be determined to be an exceptional case and ResMed
5    be awarded its attorney’s fees, costs, and expenses under 35 U.S.C. § 285; and
6           (h)    That ResMed be awarded such other equitable or legal relief as this
7    Court deems just and proper under the circumstances.
8                                DEMAND FOR JURY TRIAL
9           Pursuant to Federal Rule of Civil Procedure 38, ResMed demands a jury trial
10   on all issues so triable.
11
12   Dated: August 31, 2018            FISH & RICHARDSON P.C.
13
14                                     By: /s/ Roger A. Denning
                                           Roger A. Denning
15
                                           denning@fr.com
16
                                       Attorney for Plaintiffs
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                                       ResMed Inc., ResMed Corp, and ResMed Ltd
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1                            TABLE OF EXHIBITS
2
3        EXHIBIT NO.                DESCRIPTION                 PAGES
4            A          United States Patent 9,757,533           1-117
             B          United States Patent 9,937,315          118-157
5            C          United States Patent 9,950,131          158-272
6            D          United States Patent 9,962,510          273-317
             E          United States Patent 9,962,511          318-436
7            F          ‘533 Simplus Infringement Claim Chart   437-486
8            G          ‘533 Eson Infringement Claim Chart      487-527
             H          ‘533 Eson 2 Infringement Claim Chart    528-576
9             I         ‘315 Simplus Infringement Claim Chart   577-602
10            J         ‘315 Eson Infringement Claim Chart      603-629
             K          ‘315 Eson 2 Infringement Claim Chart    630-656
11
             L          ‘131 Simplus Infringement Claim Chart   657-707
12           M          ‘131 Eson Infringement Claim Chart      708-758
             N          ‘131 Eson 2 Infringement Claim Chart    759-807
13
             O          ‘510 Simplus Infringement Claim Chart   808-868
14           P          ‘511 Simplus Infringement Claim Chart   869-904
15           Q          ‘511 Eson Infringement Claim Chart      905-940
             R          ‘511 Eson 2 Infringement Claim Chart    941-975
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